                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE


UNITED STATES OF AMERICA,                            )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )           No. 3:07-CR-134
                                                     )           (Varlan / Guyton)
DAVID ROUSE, et al.,                                 )
                                                     )
                      Defendants.                    )


                               MEMORANDUM AND ORDER

       All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

' 636(b) for disposition or report and recommendation regarding disposition by the District Court

as may be appropriate. This case is before the Court upon Defendant David Rouse’s Motion to

Extend Motion Deadline [Doc. 48]. In support of his request, counsel for Mr. Rouse, Attorney

Wade Davies, reports that the defendant remains in an inpatient treatment program, ordered by the

Court as a condition of his pretrial release. Mr. Rouse is anticipated to complete the program on

November 19, 2007. Attorney Davies states that he has received a large quantity of material in

discovery and that a reasonable time will be required to conduct a meaningful review of these

materials with Mr. Rouse after his discharge from the program. Attorney Davies requests an

extension of two weeks for the filing of pretrial motions under these circumstances.

       The Court finds that good cause has been shown to extend the deadline previously establish

for filing of motions on behalf of David Rouse. Accordingly, his Motion to Extend Motion Deadline




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[Doc. 48] is GRANTED. Pretrial motions for Mr. Rouse may be filed on or before November 30,

2007, as requested. The United States shall file any responses to pretrial motions as to this

defendant on or before December 14, 2007.

       IT IS SO ORDERED.

                                                  ENTER:


                                                       s/ H. Bruce Guyton
                                                  United States Magistrate Judge




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